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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

SAGEBRUSH HEALTH SERVICES, a
Nevada nonprofit foundation
8379 West Sunset Road, Suite 210
Las Vegas, NV 89113                                  Civil Action No.
                   Plaintiff,

       v.

 XAVIER BECERRA, in his official capacity,
and U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES,
200 Independence Avenue, S.W.
Washington, DC 20201

and

CAROLE JOHNSON, in her official capacity,
and HEALTH RESOURCES AND SERVICES
ADMINISTRATION,
5600 Fishers Lane
Rockville, MD 20857

                   Defendants.



      VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiff Sagebrush Health Services (“Sagebrush”), a nonprofit foundation, submits the

following Verified Complaint for Declaratory and Injunctive Relief against Defendants Xavier

Becerra in his official capacity, the United States Department of Health and Human Services

(“HHS”), the Health Resources and Services Administration (“HRSA”), and Carole Johnson in

her official capacity, and alleges as follows:

                                       NATURE OF CASE

       1.      This is an action arising out of HRSA’s arbitrary and unlawful actions which, if

uncorrected, will have catastrophic, irreparable, and fatal consequences to Sagebrush.
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Accordingly, Sagebrush urgently brings this action to obtain immediate relief from the

unlawful, arbitrary, and capricious actions of HRSA to terminate Sagebrush-affiliated

clinics from the 340B Program without required due process. Absent judicial

intervention, HRSA’s actions will inevitably cause the imminent destruction of

Sagebrush, which relies on the 340B Program to sustain its operations.

       2.      HRSA’s failure to follow its own published regulatory process, and its

disturbing deviance from its statutory authority, are violations of both constitutional due

process and the Administrative Procedure Act (“APA”). As a result, the agency’s actions

in this case must be set aside.

                                         THE PARTIES

       3.      Sagebrush is a Nevada nonprofit foundation that collaborates with

specialty care clinics in Nevada, Connecticut, and South Carolina. Its headquarters is

located at 8379 West Sunset Road, Suite 210, Las Vegas, Nevada 89113.

       4.      Defendant Xavier Becerra is the Secretary of HHS. He has ultimate

responsibility for oversight of the activities of HRSA, including the administration of the

340B Program and the actions subject to this complaint. He is sued in his official capacity

only. Secretary Becerra maintains an office at 200 Independence Avenue, S.W.,

Washington, D.C. 20201.

       5.      Defendant HHS is an executive department of the United States

government that is responsible for HRSA and the 340B Program. HHS is headquartered

in Washington, D.C.




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         6.    Defendant HRSA is an administrative agency of the United States

government within HHS. It is the division of HHS charged with administering the

340B Program. HRSA is headquartered in Rockville, Maryland.

         7.    Defendant Carole Johnson is the Administrator of HRSA. Administrator

Johnson has ultimate responsibility for HRSA’s Office of Pharmacy Affairs (“OPA”) and its

administration of the 340B Program, among other duties. She is sued in her official capacity

only. Administrator Johnson maintains an office at 5600 Fishers Lane, Rockville, Maryland

20857.

                                JURISDICTION AND VENUE

         8.    This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331 because

this action arises under the United States Constitution and the Administrative Procedure Act

(“APA”), 5 U.S.C. §§ 701 et seq.

         9.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) because this is an

action against officers and agencies of the United States headquartered in this District.

                                   STATEMENT OF FACTS

A.       The 340B Program

         10.   The 340B Program, established by Congress in 1992, is a federal drug discount

program that allows certain types of health care providers and organizations, referred to as

“covered entities,” to obtain outpatient drugs from participating manufacturers at substantially

reduced prices. See 42 U.S.C. § 256b. The purpose of the program, which takes its name from its

enabling statute, Section 340B of the Public Health Service Act (“PHSA”), is to empower

covered entities “to stretch scarce Federal resources as far as possible, reaching more eligible

patients and providing more comprehensive services.” H.R. Rep. 102-384(II) at 12 (1992).



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        11.      One category of covered entity eligible to participate in the 340B Program

is an “entity receiving funds . . . through a State or unit of local government” under

Section 318 of the PHSA “relating to treatment of sexually transmitted diseases” (a

“Section 318 Subawardee”). 42 U.S.C. § 256b(a)(4)(K). Such entity may gain access to

the 340B Program only after “certification” of eligibility by HRSA. Id. § 256b(a)(7)(A).

HRSA also must “recertify” the eligibility of a Section 318 Subawardee annually. Id. §

256b(a)(7)(E).

        12.      To enroll in the 340B Program as a Section 318 Subawardee, an entity

must register as a covered entity via HRSA’s Office of Pharmacy Affairs Information

System (“OPAIS”).1 Section 340B of the PHSA describes OPAIS as a “single, universal,

and standardized identification system by which each covered entity site can be identified

by manufacturers, distributors, covered entities, and the Secretary for purposes of

facilitating the ordering, purchasing, and delivery of covered outpatient drugs . . . .” 42

U.S.C. § 256b(d)(2)(B)(iv). Without registration information in OPAIS, a manufacturer

or distributor is unable to verify an entity’s eligibility as a covered entity and therefore

may decline to sell 340B drugs to the entity.

        13.      A Section 318 Subawardee must separately register each physical site that

purchases 340B drugs to administer or dispense to eligible patients who receive Section

318 Subawardee services at the site. HRSA’s website contains detailed instructions

regarding registration.2 Once the registration is complete, OPA reviews the submission

and “verif[ies] eligibility by conferring with the appropriate granting agency.”3 If OPA


1
  See https://340bopais.hrsa.gov/home (last visited Jan. 15, 2025).
2
  See https://www.hrsa.gov/opa/registration (last visited Jan. 15, 2025).
3
  See FAQ ID: 1213 at https://www.340bpvp.com/search#tab=faq&cf-
p_faq_category_hierarchy=Eligibility%2FRegistration&firstResult=20 (last visited Jan. 15, 2025).

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determines that a site is a Section 318 Subawardee and provided all required information, OPA

will approve the site’s enrollment as a covered entity and issue a 340B identification number —

a unique number that drug manufacturers, wholesalers, and others use to verify the covered

entity’s program enrollment.4

B.         340B Program Compliance and Oversight

           14.      A covered entity is subject to two statutory prohibitions: the “diversion”

prohibition and the “duplicate discount” prohibition. The diversion prohibition prevents a

covered entity from reselling or transferring a drug purchased through the 340B Program to

anyone other than a “patient” of the covered entity. See 42 U.S.C. § 256b(a)(5)(B). The duplicate

discount prohibition prevents a covered entity from billing fee-for-service Medicaid for a 340B

drug if the state Medicaid agency will request a rebate from the manufacturer. See id. §

256b(a)(5)(A).

           15.      Additionally, a covered entity’s records directly related to its compliance with the

diversion and duplicate discount prohibitions are subject to audit by HRSA and manufacturers.

See id. § 256b(a)(5)(C). The audit process is conducted according to “procedures established by

the Secretary relating to the number, duration, and scope of audits . . . .” Id. If, “after audit . . .

and after notice and hearing,” HRSA determines that the covered entity violated either

prohibition, the covered entity may be liable to an affected manufacturer for repayment of an

amount equal to the 340B discount. Id. § 256b(a)(5)(D).

           16.      HRSA’s covered entity audit procedures are set forth on the “Program Integrity”

page of the 340B Program website.5 The scope of an audit may include review of the entity’s

status as a covered entity. Upon completion of the audit, HRSA will issue a final report


4
    See https://www.hrsa.gov/opa/registration (last visited Jan. 15, 2025).
5
    See https://www.hrsa.gov/opa/program-integrity (last visited Jan 15, 2025).

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addressing its findings. The report may be accompanied by a request for a corrective

action plan (“CAP”).

       17.     The covered entity has thirty calendar days from the date of HRSA’s final

report to notify the agency of its agreement or disagreement with the final report.

       18.     If the covered entity agrees with the final report, it must submit a CAP, if

required, to HRSA within sixty calendar days. HRSA generally expects full CAP

implementation and any settlement with manufacturers to be complete within six months

of the CAP approval date. The covered entity may be terminated from the 340B Program

for deviating from this expectation.

       19.     If the covered entity disagrees with the final report, it must provide a

written notice of disagreement and supporting documents. HRSA will review the covered

entity’s response and may reissue the final report with revisions, as appropriate. At that

time, HRSA will request a CAP, if still required, in accordance with the above-described

procedures.

       20.     If, in connection with an audit, HRSA determines that a covered entity’s

violation of the diversion prohibition is “systematic and egregious as well as knowing

and intentional,” the agency is statutorily authorized to “remov[e] the covered entity from

the drug discount program . . . and disqualify[ ] the entity from re-entry into such

program for a reasonable period of time . . .” 42 U.S.C. § 256b(d)(2)(B)(v)(II). According

to HRSA’s Program Integrity webpage, “[a] finding of non-compliance with the

diversion prohibition in two or more audits, depending on the nature of the violation, may

be considered systematic and egregious, as well as knowing and intentional” (emphasis




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added), and therefore may result in the covered entity’s removal and disqualification from re-

entry into the 340 Program.

C.     Sagebrush

       21.     Sagebrush is a Nevada nonprofit foundation that is affiliated with specialty care

clinics in Nevada, Connecticut, and South Carolina. It is the recipient of two grant subawards

focused on the screening, detection, treatment, and prevention of sexually transmitted infections

(“STIs”). One was issued by the Nevada Department of Health and Human Services (“NHHS”)

(the “NHHS Subaward”); the other by the Connecticut Department of Public Health (“CDPH”)

(the “CDPH Subaward,” collectively with the NHHS Subaward, the “Subawards”). The

Subawards derive from awards made by the Centers for Disease Control and Prevention

(“CDC”) to NHHS and CDPH under Section 318 of the PHSA.

D.     The NHHS Subaward

       22.     NHHS awarded the NHHS Subaward for the initial period from January 1, 2023,

to December 31, 2023, in a Notice of Subaward identifying CDC as the source of funds under

Section 318 grant number 6NH25PS005179-05-03.

       23.     The Notice of Subaward includes a Scope of Work that details various goals,

objectives, and activities required of Sagebrush. The Scope of Work contemplates Sagebrush’s

affiliation with medical providers to perform the NHHS Subaward activities, listing the name

and addresses of nineteen clinic sites. The Scope of Work expressly acknowledges that the

NHHS Subaward activities will be directed to patients at “infusion-based specialty clinics, such

as Infectious Disease, Rheumatology, Neurology, Nephrology, Cardiology, Gastroenterology,

Oncology, and other applicable specialties” and that those patients would be “incorporate[ed]

into [Sagebrush’s] 340B program.”



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       24.      Pursuant to a Subaward Amendment #1 dated July 17, 2023, NHHS and

Sagebrush agreed to modify the Scope of Work to include additional provisions relating

to development and implementation of a national protocol for STI risk assessment and/or

testing, prevention, and/or education focused on short-term visitors and other temporary

residents of Nevada.

       25.     Pursuant to a Subaward Amendment #2 dated November 20, 2023, NHHS

and Sagebrush agreed to extend the NHHS Subaward through January 31, 2024.

       26.     NHHS and Sagebrush agreed to further extend the NHHS Subaward

through January 31, 2025. This is memorialized in a new Notice of Subaward that is

substantially similar to the original Notice of Subaward.

       27.     Pursuant to a Subaward Amendment #1 dated July 17, 2023, NHHS and

Sagebrush agreed to extend the NHHS Subaward through February 28, 2025, and to

modify the Scope of Work to include a list of the nineteen clinic sites where NHHS

Subaward activities occur. The amendment also updates the underlying CDC grant

number (6 NH25PS005179-05-04) to reflect the new award under which NHHS will

continue to receive Section 318 funds.

       28.     In total, Sagebrush received $600 from NHHS to cover the costs of STI-

related outreach and education materials, as well as condoms provided by NHHS on an

in-kind basis, for distribution to target populations.

E.     The CDPH Subaward

       29.     The CDPH Subaward comprises an in-kind contribution of human

immunodeficiency virus (“HIV”) and hepatitis C tests that CDPH has provided to

Sagebrush with funds from the CDC under Section 318 grant number 6NU62PS924521-



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04-02. The CDPH Subaward commenced on or around December 28, 2022, and continues on an

ongoing basis, subject to resource availability, consistent with the term of CDPH’s grant from

the CDC, which on information and belief will expire on July 31, 2029. The terms of the CDPH

Subaward are memorialized in communications between CDPH and Sagebrush, copies of which

Sagebrush provided to HRSA. CDPH acknowledged and approved all the clinic sites where

Sagebrush has administered the tests.

F.       Sagebrush’s Participation in the 340B Program

         30.   To ensure effective implementation of its Subawards, Sagebrush developed a

comprehensive sexual health care services program (the “Program”). A key component of the

Program is care collaboration with medical specialists (the “Providers”), including oncology and

rheumatology providers, for example, many of whom treat patients who are

immunocompromised or otherwise may be at increased risk of contracting STIs (the “Patients”).

These care collaboration models involve the integration of STI education, screening, testing, and

treatment services with the medical services in which the Providers specialize. With support

from Sagebrush, the Providers carry out programmatic functions and STI-related services within

the scope of the Subawards (“Subaward Services”) for Patients at the Providers’ respective

outpatient clinics (the “Sites”). At Nevada Sites, the Subaward Services include sexual health

screening and distribution of STI education materials and condoms. At Connecticut Sites, the

Subaward Services include sexual health screening and administration of HIV and hepatitis C

tests.

         31.   Sagebrush separately registered multiple Sites as Sagebrush’s “subdivisions” or

“child sites” in OPAIS, including those Sites listed in the NHHS Notice of Subaward and those

sites where Providers administer CDPH-purchased HIV and hepatitis C tests. OPA reviewed and



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approved the Sites and issued a unique 340B identification number for each one. With

respect to such Sites, Sagebrush purchased 340B drugs that were administered or

prescribed to Patients at the Sites.

       32.     From time to time, Sagebrush has removed from OPAIS Sites where

Subaward activities have ceased.

       33.     Sagebrush’s Program is contingent on the availability of financial

resources derived from Sagebrush’s participation in the 340B Program. The drug

discount savings fund many of the Program’s activities and other community benefit

programs, including STI screening and treatment services that are not directly funded

under the Subawards.

G.     The Instant Litigation

       34.     By letter dated February 2, 2024, HRSA notified Sagebrush that the

agency was “conducting a review” of fifty-three Sagebrush Sites listed in OPAIS for

“compliance with 340B Program requirements with a focus on the site’s receipt of grant

funding from the Centers for Disease Control and Prevention (CDC), and determinations

of patient eligibility.” The letter contained eleven inquiries and document requests for

which HRSA requested responses by Saturday, March 2, 2024 (subsequently extended to

Monday, March 4, 2024).

       35.     On March 4, 2024, Ms. Dybik, acting as Sagebrush’s 340B Program

authorizing official, responded to HRSA’s requests by letter. The letter included 8,135

pages of responsive documents.




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        36.     On July 3, 2024, HRSA sent a letter to Sagebrush requesting Sagebrush’s

response to eight additional questions and document requests. Sagebrush responded by

letter dated August 2, 2024, and attached ten responsive documents.

        37.     On September 19, 2024, HRSA sent a letter to Sagebrush asserting that three

Sagebrush Sites were not “currently eligible to participate in the 340B Program as an STD

covered entity under Section 340B(a)(4)(K) of the PHSA” because the CDPH Subaward

allegedly expired on July 31, 2024. HRSA claimed that it “will terminate these sites from the

340B Program on September 27, 2024, if Sagebrush is unable to demonstrate its current

eligibility, including the submission of documentation to show compliance.”

        38.     Sagebrush responded by letter on September 25, 2024, enclosing communications

from CDPH demonstrating that CDPH continued the CDPH Subaward past July 31, 2024, and

that the three Sites at issue remained eligible to participate in the 340B Program.

        39.     On December 20, 2024, HRSA sent a letter to Sagebrush stating that HRSA

determined that fifty-five sites that were currently or previously registered in OPAIS “have not

been eligible to participate in the 340B Program as STD covered entities under Section

340B(a)(4)(K) of the PHSA.” Notwithstanding that OPA had previously reviewed and approved

the OPAIS registration information for each of the Sites and had issued individual 340B

identification numbers, HRSA concluded that the Sites “failed to comply with this statutory

eligibility requirement and failed to provide documentation to demonstrate receipt of Section 318

funding or support . . . .”

        40.      Based on this determination, HRSA demanded that Sagebrush terminate twenty

Sites active in OPAIS by December 27, 2024. Should Sagebrush fail to comply, HRSA would

terminate the twenty Sites by December 30, 2024.



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       41.     The effect of HRSA’s determination is that Sagebrush must repay all

savings that it realized from the allegedly ineligible Sites’ participation in the 340B

Program. This amount totals tens of millions of dollars, repayment of which would force

Sagebrush to cease all operations.

       42.     HRSA further demanded that Sagebrush “provide a statement that

Sagebrush has determined the full scope of non-compliance and worked with affected

manufacturers regarding repayment.” Only after Sagebrush “is able to demonstrate that it

determined the full scope of non-compliance, repaid affected manufacturers, can

demonstrate that it meets the covered entity eligibility requirements set forth in Section

340B(a)(4) of the PHSA, and meets all other 340B Program requirements” would HRSA

allow Sagebrush to re-register the sites.

       43.     Sagebrush responded on the same day, emphasizing its disagreement with

HRSA’s determination and requesting that HRSA withdraw its demand that Sagebrush

terminate the twenty Sites from the 340B Program. Sagebrush included documents

showing the current status of the Subawards and requested that HRSA grant Sagebrush

an additional thirty days to demonstrate the 340B eligibility of the Sites.

       44.     Separately, Sagebrush’s legal counsel emailed HRSA on December 20,

2024, to request that HRSA extend its deadline to terminate the Sites to January 31, 2025.

       45.     Later, on December 20, 2024, HRSA emailed Sagebrush and stated that

HRSA would agree to “pause the date that we requested Sagebrush terminate its sites in

our letter dated Dec. 20, 2024, until we have had chance to review this information.”

       46.     On January 9, 2025, Sagebrush’s legal counsel sent HRSA a letter

expressing concern that HRSA’s findings, as stated in its December 20, 2024, letter were



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“not in compliance with HRSA’s own policies and procedures as stated in its Program Integrity

Materials (the “Policy”).” Thus, it was unclear if HRSA’s letter “triggers the dispute resolution

process as provided in the Policy,” including the potential submission of a CAP for HRSA’s

approval.

       47.     On January 13, 2025, HRSA notified Sagebrush that it had reviewed the

additional materials that Sagebrush provided on December 20, 2024, and reiterated its

determination that each of the Sites identified in HRSA’s December 20, 2024, letter be

terminated. According to HRSA, the additional materials failed to show Sagebrush’s receipt of

Section 318 funding. HRSA also determined that “there are a number of other deficiencies in

much of the documentation, such as, not being specific to the sites being terminated and not

being specific to the time periods covered.” For these reasons, the letter stated that HRSA would

terminate the Sites by close of business on January 13, 2025.

       48.     HRSA’s determination that the fifty-five Sites referenced in its December 20,

2024, letter are ineligible to participate in the 340B Program has immediate, severe, and

permanent adverse consequences for Sagebrush. It effectively puts Sagebrush out of business

because Sagebrush is unable to repay applicable manufacturers the millions of dollars in 340B

discounts that it received on those manufacturers’ drugs. Further, the termination of the twenty

actively registered Sites precludes Sagebrush from purchasing 340B drugs for Patients at those

Sites and realizing future 340B savings. As a result, the Program will abruptly cease, along with

the Subaward Services to Patients, impairing Patients’ access to health care services, including

pre-exposure prophylaxis and post-exposure prophylaxis treatment that Sagebrush provides to

Patients to prevent HIV infection, and Sagebrush’s ability to fulfill its Subaward obligations.




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                          COUNT 1 – Violation of 5 U.S.C. § 706(2)(C)

                                 (Exceeding Statutory Authority)

       49.     49      Plaintiff repeats and realleges the factual allegations of the

preceding paragraphs as if fully set forth herein.

       50.     Defendants’ decision to terminate Sagebrush’s Sites from the 340B

Program and its determination that the Sites referenced in HRSA’s December 20, 2024,

letter are ineligible to participate in the 340B Program are final agency actions made

reviewable by 5 U.S.C. § 706(2).

       51.     Sagebrush is adversely affected by Defendants’ actions.

       52.     Defendants’ decision to terminate Sagebrush’s Sites from the 340B

Program and its determination that the Sites referenced in HRSA’s December 20, 2024,

letter are ineligible to participate in the 340B Program, which Defendants made without

affording Sagebrush the notice and hearing required under 42 U.S.C. § 256b(a)(5)(D),

constituted activity in excess of Defendants’ authority and in violation of 5 U.S.C. §

706(2)(C).

       53.     Sagebrush has suffered and will continue to suffer irreparable harm,

including, without limitation, repayment liability in the millions of dollars, as a result of

Defendants’ violations of 5 U.S.C. § 706(2)(C).

       54.     Sagebrush is entitled to injunctive and declaratory relief to remedy

Defendants’ unlawful conduct, as well as all other relief as set forth in its Prayer for

Relief. See 5 U.S.C. § 705.




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                           COUNT 2– Violation of 5 U.S.C. § 706(2)(D)

                         (Failure to Observe Procedure Required by Law)

        55.     Plaintiff repeats and realleges the factual allegations of the preceding

paragraphs as if fully set forth herein.

        56.     Defendants’ decision to terminate Sagebrush’s Sites from the 340B Program and

its determination that the Sites referenced in HRSA’s December 20, 2024, letter are ineligible to

participate in the 340B Program are final agency actions made reviewable by 5 U.S.C. § 706(2).

        57.     Sagebrush is adversely affected by Defendants’ actions.

        58.     Defendants’ decision to terminate Sagebrush’s Sites from the 340B Program and

its determination that the Sites referenced in HRSA’s December 20, 2024, letter are ineligible to

participate in the 340B Program, which Defendants made without affording Sagebrush the notice

and hearing required under 42 U.S.C. § 256b(a)(5)(D), and provided for by HRSA’s own

procedures, published on its own website, are violations of 5 U.S.C. § 706(2)(D).

        59.     Sagebrush has suffered and will continue to suffer irreparable harm, including,

without limitation, repayment liability in the millions of dollars, as a result of Defendants’

violations of 5 U.S.C. § 706(2)(D).

        60.     Sagebrush is entitled to injunctive and declaratory relief to remedy Defendants’

unlawful conduct, as well as all other relief as set forth in its Prayer for Relief. See 5 U.S.C. §

705.

                           COUNT 3 – Violation of 5 U.S.C. § 706(2)(A)

                   (Revocation of Site Status Absent Reasonable Explanation)

        61.     Plaintiff repeats and realleges the factual allegations of the preceding paragraphs

as if fully set forth herein.



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       62.     Defendants’ decision to terminate Sagebrush’s Sites from the 340B

Program and its determination that the Sites referenced in HRSA’s December 20, 2024,

letter are ineligible to participate in the 340B Program are final agency actions made

reviewable by 5 U.S.C. § 706(2).

       63.     Sagebrush is adversely affected by Defendants’ actions.

       64.     Defendants’ decision to terminate Sagebrush’s Sites from the 340B

Program and its determination that the Sites referenced in HRSA’s December 20, 2024,

letter are ineligible to participate in the 340B Program, which Defendants made without

affording Sagebrush the notice and hearing required under 42. U.S.C. § 256b(a)(5)(D),

and provided for by HRSA’s own procedures, published on its own website, is a violation

of 5 U.S.C. § 706(2)(A).

       65.     Defendants failed to engage in reasoned decision-making; to reasonably

(or at all) explain their departure from HRSA’s own procedures; or to provide an

adequate and reasonable explanation for their actions.

       66.     Defendants’ actions fly in the face of the plain and unambiguous text of

HRSA’s own procedures and undermine the policy and purpose of those procedures to

guarantee due process to covered entities participating in the 340B Program.

       67.     Sagebrush has suffered and will continue to suffer irreparable harm,

including, without limitation, repayment liability in the millions of dollars, as a result of

Defendants’ violations of 5 U.S.C. § 706(2)(A).

       68.     Sagebrush is entitled to injunctive and declaratory relief to remedy

Defendants’ unlawful conduct, as well as all other relief as set forth in its Prayer for

Relief. See 5 U.S.C. § 705.



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                                COUNT 4 – Violation of Due Process

                           (Violation of Sagebrush’s Due Process Rights)

        69.     Plaintiff repeats and realleges the factual allegations of the preceding paragraphs

as if fully set forth herein.

        70.     Plaintiff further alleges that Defendants’ actions resulted in the deprivation of

Plaintiff’s constitutional rights.

        71.     Sagebrush’s enrollment in the 340B Program constitutes a highly valuable

property right. By depriving Sagebrush of this right in an arbitrary and capricious matter, and

without all of the requisite notices and hearings as discussed above, Defendants have wrongfully

infringed Sagebrush’s right to due process of law, as guaranteed by the Fifth Amendment to the

United States Constitution.

        72.     Sagebrush is entitled to injunctive and declaratory relief to remedy Defendants’

unlawful conduct, as well as all other relief as set forth in its Prayer for Relief. See 5 U.S.C. §

705.

        WHEREFORE, Sagebrush prays that this Court enjoin Defendants and remand this

matter to HRSA for further consideration. Additionally, Sagebrush requests the Court to:

        a.      Award Plaintiff emergency, preliminary, and permanent injunctive relief

preventing implementation of the wrongful, arbitrary, and capricious administrative actions

subject to this complaint;

        b.      Declare that:

        - Defendants’ termination of Sagebrush’s Sites from the 340B Program and its

determination that the Sites referenced in HRSA’s December 20, 2024, letter are ineligible to

participate in the 340B Program, which Defendants made without affording Sagebrush proper



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notice and hearing, are in excess of Defendants’ statutory jurisdiction and authority, and

in violation of 5 U.S.C. § 706(2)(C);

          - Defendants’ termination of Sagebrush’s Sites from the 340B Program and its

determination that the Sites referenced in HRSA’s December 20, 2024, letter are

ineligible to participate in the 340B Program, which Defendants made without affording

Sagebrush proper notice and hearing, directly conflict with 42 U.S.C. § 256b(a)(5)(D)

and HRSA’s published procedures in violation of 5 U.S.C. § 706(2)(D);

          - Defendants’ termination of Sagebrush’s Sites from the 340B Program and its

determination that the Sites referenced in HRSA’s December 20, 2024, letter are

ineligible to participate in the 340B Program, which Defendants made without affording

Sagebrush proper notice and hearing, directly conflict with 42 U.S.C. § 256b(a)(5)(D)

and HRSA’s published procedures and are arbitrary and capricious in violation of 5

U.S.C. § 706(2)(A); and

          - Defendants’ termination of Sagebrush’s Sites from the 340B Program and its

determination that the Sites referenced in HRSA’s December 20, 2024, letter are

ineligible to participate in the 340B Program, which Defendants made without affording

Sagebrush proper notice and hearing, violate Sagebrush’s right to due process under the

Fifth Amendment to the United States Constitution;

          c.     Award Sagebrush its reasonable attorney’s fees and costs, as permitted by

law; and

          d.     Grant such other further relief as this Court deems just, equitable, and

proper.




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January 16, 2025                   SAGEBRUSH HEALTH SERVICES

                                   /s/ James H. Hulme
                                   James H. Hulme (Bar No. 323014)
                                   Douglas A. Grimm (Bar No. 495805)
                                   ArentFox Schiff LLP
                                   1717 K Street, NW
                                   Washington, DC 20006-5344
                                   Ph: 202.857.6000
                                   Fax: 202.857.6395
                                   james.hulme@afslaw.com
                                   douglas.grimm@afslaw.com
                                   Counsel for Plaintiff Sagebrush Health Services




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